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  SO ORDERED.

  SIGNED this 18 day of January,2017.


                                                           ___________________________________________
                                                                     Stephani W. Humrickhouse
                                                                   United States Bankruptcy Judge

_________________________________________________________________________
                            UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF NORTH CAROLINA
                                  WILMINGTON DIVISION

   IN RE:                                                                         CASE NO:

   JOYCE ANN FRINK                                                                16-00093-5-SWH

   DEBTOR                                                                         CHAPTER 7

                                       ORDER FOR TURNOVER


           THIS MATTER comes before the Court on the Chapter 7 Trustee’s Motion for Turnover
   (the “Motion”). For the reasons set forth in the motion, the Court finds that the Motion is
   appropriate and should be granted. Accordingly, the Court makes the following finds of facts and
   conclusions of law:

           1.       On January 7, 2016 (the “Petition Date”), the Debtor filed a voluntary petition
   under Chapter 7 with the Bankruptcy Court for the Eastern District of North Carolina, and Algernon
   L. Butler, III was duly appointed as Chapter 7 Trustee in this case (the “Trustee”).

           2.       The § 341 Meeting was held on February 3, 2016 and based on the Debtor’s
   representations the case was determined to be a no asset case and the Trustee filed a Report of No
   Distribution on February 11, 2011. The Order discharging the Debtor was entered on April 6, 2016
   (the “Discharge Order”). The final decree was entered on April 7, 2016.

           3.     The Trustee has recently become aware that the Debtor is represented by counsel in
   connection with a product liability claim arising out of events which took place between 2002 and
   2012 and that the Debtor claims to have an interest in and to be entitled to receive a settlement
   award in connection therewith (the “Product Liability Claim”).

           4.       On November 28, 2016 the Trustee filed a motion for the Court to reopen this case
   in order to enable the Trustee to administer the Product Liability Claim as an asset of the estate, and
   on December 1, 2016 the Court entered an order reopening the case and reinstating the Trustee.

          5.      On April 16, 2012 the Debtor entered into a Contingent Attorney Fee Contract (the
   “Agreement”) with the law firm of Ferrer, Poirot & Wansbrough (the “Ferrer Firm”) pursuant to
   which the Ferrer Firm was hired to represent the Debtor in prosecuting a lawsuit on behalf of the
   Debtor with regard to the Product Liability Claim on the basis of a 40% contingency fee plus
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   reimbursement of expenses. The law firm of Aylstock, Witkin, Kreis & Overholtz (the “Aylstock
   Firm”) assisted the Ferrer Firm in handling the lawsuit and participated in a fee-sharing agreement
   with the Ferrer Firm pursuant to the Agreement.

            6.      On June 11, 2014 the Debtor, through the Aylstock Firm as her counsel, filed a civil
   action in the U.S. District Court for the Western District of Louisiana asserting the Product Liability
   Claim against the defendants Takeda Pharmaceuticals USA, Inc., Eli Lilly & Company et al., Civil
   Action No.: 6:14-cv-1166 (the “Civil Action”).

          7.      The Civil Action and the Product Liability Claim are based on the Debtors’ medical
   problems and procedures related to the Debtor’s use of a Type 2 diabetes drug marketed and sold as
   Actos.

            8.     The Civil Action asserts and seeks to recover from the defendants compensatory
   damages, including medical expenses and economic loss, exemplary damages, punitive damages,
   costs, and attorneys fees, pursuant to the following cases of action: Negligence; Strict Products
   Liability – Failure to Warn; Strict Products Liability – Defective Design; Breach of Express
   Warranty; Breach of Implied Warranty for a Particular Purpose; Breach of Implied Warranty of
   Merchantability; Fraud; Fraudulent Concealment; Negligent Misrepresentation; and Consumer
   Fraud and Deceptive Trade Practices.

           9.       On or around August 2015, the Debtor received a letter from the Aylstock Firm
   notifying her of a Settlement Program related to the Civil Action (the “Settlement”) which requested
   certain documents from the Debtor for her participation in the Settlement. Upon information
   provided to the Trustee, the Debtor provided the required documents to the Aylstock Firm.

           10.      On August 22, 2015, the Debtor entered into contract with Brian and Gina
   Browning to purchase real estate located in Columbus County, North Carolina for $112,900.00 (the
   “Columbus County Property”). The purchase of the Columbus County Property was owner
   financed and required from the Debtor an initial payment of $7,000.00, monthly payments of
   $825.00 per month thereafter (payments not applied to principal balance), and a balloon payment of
   the principal balance on or around August 22, 2016.

            11.    On September 17, 2015, the Debtor entered into a contract with Richard and Sharon
   Starkey to purchase real estate located in Bladen County, North Carolina for $72,000.00 (the
   “Bladen County Property” and collectively with the Columbus County Property “the Properties”).
   The purchase of the Bladen County Property was owner financed and required from the Debtor an
   initial payment of $10,000.00, monthly payments of $600.00 thereafter (payments applied to
   principal balance) and a balloon payment of the principal balance on or before April 14, 2016.

           12.    Upon information provided to the Trustee, the Debtor intended to use the net
   Settlement proceeds, in part, to satisfy the balloon payments related to the purchase of the
   Properties.

           13.      On January 7, 2016, the Debtor filed a voluntary petition under Chapter 7 with the
   Bankruptcy Court for the Eastern District of North Carolina. The Product Liability Claim, the Civil
   Action, the potential Settlement proceeds, and the Properties were not disclosed in the schedules or
   statement of financial affairs filed with the bankruptcy petition or in the Debtor’s amended
   schedules filed on February 9, 2016. The debt related to the purchase of the Properties was not
   disclosed in the schedules and payments related to the purchase of the Properties were not disclosed
   in the Debtor’s statement of financial affairs.
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           14.      The Product Liability Claim, the Civil Action, the potential Settlement proceeds,
   and the Properties were not disclosed during the § 341 meeting held on February 3, 2016.
   Specifically, the Debtor responded “No” on the Trustee’s questionnaire given at the § 341 meeting
   which asked whether the Debtor was involved in a lawsuit and whether there was anything that she
   owned or may have had a claim to ownership in on the Petition Date that was not listed in the
   bankruptcy schedules.

           15.     The Product Liability Claim, the Civil Action, the potential Settlement proceeds,
   and the Properties were not disclosed in the Debtor’s amended schedules filed on February 9, 2016.

           16.      On April 1, 2016 and within two months following the § 341 meeting, the Debtor
   faxed a letter and copies of the contracts to purchase the Properties to the Aylstock Firm requesting
   that Aylstock Firm send her the Settlement proceeds “ASAP” to facilitate the purchase of the
   Properties.

            17.    On June 23, 2016, the Debtor received a letter from the Aylstock Firm informing
   her that the 50% of the Actos Settlement claims had been processed and that they hoped that “initial
   payments will be made by fall of [2016].”

           18.       On August 8, 2016, the Debtor faxed to Aylstock Firm certain documents including
   the Discharge Order, copies of the contracts to purchase the Properties, and a note stating that she
   “need[s] money to complete these purchases, my houses and vehicles as well as paying all my
   creditors off so I can dismiss the Chapter 7 Bankruptcy by the 23rd of August.”

           19.      Despite her active participation in the Settlement and monthly payments towards
   the purchase of the Properties, the Debtor has concealed the Product Liability Claim, the Civil
   Action, the Settlement, and the Properties from the Trustee.

            20.      In November 2016, an attorney assisting the Aylstock Firm (the “Attorney”) in
   managing their cases contacted the Trustee to inquire as to whether or not the bankruptcy estate had
   an interest in the settlement of the Civil Action, and in response the Trustee requested additional
   information from the Attorney. The Trustee has notified the Attorney that the bankruptcy estate is
   entitled to the proceeds from the Settlement.

           21.      The Attorney informed the Trustee that the gross minimum amount that would be
   received as a result of the Settlement was $244,944.00.

            22.    The Product Liability Claim, the proceeds from the Settlement, and the Properties
   constitute property of the bankruptcy estate pursuant to 11 U.S.C. § 541 which the Debtor did not
   schedule or exempt and which should be administered by the Trustee for the benefit of the creditors
   of this bankruptcy estate.

           NOW, THEREFORE, in consideration of the foregoing findings of fact and conclusions of
   law, IT IS ORDERED, ADJUDGED, AND DECREED as follows:

           1. The Motion is allowed.

           2. The proceeds from the Settlement constitute property of the bankruptcy estate pursuant
              to 11 U.S.C. § 541 in which the Debtor is not entitled to claim an exemption.
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        3. The Properties constitute property of the bankruptcy estate pursuant to 11 U.S.C. § 541
           in which the Debtor is not entitled to claim an exemption.

        4. The gross proceeds from the settlement of the Civil Action shall be turned over and paid
           to the Trustee to be administered by the Trustee for the benefit of the creditors of this
           bankruptcy estate.

                                     “END OF DOCUMENT”
